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                        EXHIBIT C
5/21/2019                                          Ion Maiden
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                                                           SIGN UP TO OUR MAILING LIST
                                                AND GET NOTIFIED ONCE THE BIG BOX IS BACK IN STOCK!




                                                                   (https://3drealms.us8.list-manage.com/subscribe?
                                                    u=42a31ae2dd8a9f76e0e5cfe23&id=464e9b7d6c)




                                                                                                        FOUNDERS EDITION
                                                                                                        Introducing Ion Maiden Founders Edition.

                                                                                                        A unique high-quality '90s style Big Box release of Ion
                                                                                                        Maiden, including a custom made Floppy Disk with a built in
                                                                                                        Flash Drive, Bowling Bomb stickers, Mouse Pad, A3 Poster,
                                                                                                        Lanyard, Physical Soundtrack, Ion Maiden Key Cards and a 6"
                                                                                                        Bombshell Figurine.


www.ionmaiden.com                                                                                                                                                                       1/5
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                        EXHIBIT D
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                    ion maiden merchandise


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                    Iron Maiden - O cial Website
                    https://ironmaiden.com/
                    Sao Paulo and Porto Alegre soccer stadium shows will follow sold out Rock In Rio appearance - get
                    ready to see Maiden deliver their biggest ever production in ...
                    Iron Maiden · Legacy Of The Beast Tour - 2019 · Legacy of the Beast Tour · Fanclub


                    Clothing - Iron Maiden
                    https://666.ironmaiden.com/
                    Iron Maiden - Clothing. Buy Featured, For Him, For Her, For Kids, T Shirts.
                    T Shirts · For Him · Legacy of the Beast · 2018 Football Shirt


                    Ion Maiden - 3D Realms - Firepower Matters
                    https://3drealms.com/catalog/ion-maiden_56/
                    Feb 28, 2018 - About Ion Maiden. The true successor to classic shooters such as Duke Nukem 3D,
                    Shadow Warrior and Blood. Built using the original "Build" engine, with additional enhancements to
                    further improve the technology. Beautiful hand-crafted artwork, built using original old-school tools and
                    methodologies.


                    Ion Maiden on Steam
                    https://store.steampowered.com/app/562860/Ion_Maiden/
                                Rating: 10/10 - 943 reviews - $19.99
                    3D Realms, creators of Duke Nukem 3D, Prey, and Max Payne, are excited to team up with Voidpoint to
                    bring back the legendary Build Engine, famously known ...



                    People also ask

                    Will Iron Maiden tour the US in 2018?

                    Are Iron Maiden touring in 2019?

                    Is Iron Maiden still alive?

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                                                                                                                    Feedback


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                    https://www.emp-online.com/band-merch/iron-maiden/
                    172 Items - Get your Iron Maiden fan clothing and accessories from our wide range of band
                    merchandise Get your hands on goodies inspired by the heavy ...


                    Iron Maiden Merch Store - O cially Licensed Merchandise - Rockabilia
                    https://www.rockabilia.com/browse/artists-groups/i/iron-maiden.html
                    Items 1 - 32 of 282 - O cially licensed merch from Iron Maiden available at Rockabilia.


                    Ion Maiden - Wikipedia
                    https://en.wikipedia.org/wiki/Ion_Maiden
                    Ion Maiden is a 2019 rst-person shooter video game developed by Voidpoint and published ...
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https://www.google.com/search?source=hp&ei=7YnkXLX9Odft-gT95LKABA&q=ion+maiden+merchandise&oq=ion+maiden+merchandise&gs_l=psy-a…                                           1/2
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                    Release: Q2 2019      Developer(s): Voidpoint
                    Engine: Build         Mode(s): Single-player
                    Missing: merchandise | Must include: merchandise


                    Iron Maiden - O cial Merchandise Shop - Impericon.com US
                    https://www.impericon.com › Home › Merchandise
                    Iron Maiden Merchandise at the Impericon Online Shop.


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                                     of Ruin        Triad           Rodgers:    Nukem         3D              Nukem
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                                                                                                                  Feedback


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                                                2 Filed     pad - Google Search
                                                                          Page 13 of 18 Page ID #:33

                    ion maiden mouse pad


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                    Amazon.com : Eclipse Gift Ideas Iron Maiden Mouse Mat - Design 01 ...
                                                                                                                                               $14.99
                    https://www.amazon.com/Eclipse-Gift-Ideas-Maiden-Mouse/dp/B00IS5E7QM
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                    This Mouse Mat has a Polyester top with a black rubber non-slip underside Measurements are 22cm x
                    18cm and Approx 3-4mm thick These items are printed by ...


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                    Amazon.com : Iron Maiden design 3 Mouse Mat / Pad - By Eclipse Gift ...
                    https://www.amazon.com/Iron-Maiden-design-Mouse-Mat/dp/B01DRZ7UNO
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                    Amazon.com : Iron Maiden design 5 Mouse Mat / Pad - By Eclipse Gift ...
                    https://www.amazon.com/Iron-Maiden-design-Mouse-Mat/dp/B01DRZ7VK6

                    This Mouse Mat has a Polyester top with a black rubber non-slip underside Measurements are 22cm x
                    18cm and Approx 3-4mm thick These items are printed by ...


                    Iron Maiden Mousepad Eddie 666 Heavy Metal Mouse Pad Mats ...
                    https://www.ebay.com › Business & Industrial › O ce › O ce Supplies › Mousepads
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                    Find many great new & used options and get the best deals for Iron Maiden Mouse Pad Mats
                    Mousepad Hot Gift at the best online prices at eBay! Free shipping ...


                    Ion Maiden
                    www.ionmaiden.com/
                    A unique high-quality '90s style Big Box release of Ion Maiden, including a ... Mouse Pad, A3 Poster,
                    Lanyard, Physical Soundtrack, Ion Maiden Key Cards and a ...
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                    Ion Maiden (@Bombshell_Game) | Twitter
                    https://twitter.com/bombshell_game?lang=en
                    The latest Tweets from Ion Maiden (@Bombshell_Game). ... booth, get over 3000 points in the Queen
                    of the Hill mode and win an Ion Maiden mouse pad!


                    Controller support? ....yes. seriously. :: Ion Maiden General Discussions
                    https://steamcommunity.com/app/562860/discussions/0/1742232339923331160/
                    Jan 23, 2019 - ... "partial controller support" and in-game the D-pad can move up and down in menus ...
                    Ion Maiden .... You know, before anyone had a mouse.



                    Images for ion maiden mouse pad




                          More images for ion maiden mouse pad                                            Report images



                    Mouse lag :: Ion Maiden General Discussions - Steam Community
                    https://steamcommunity.com/app/562860/discussions/0/1742232339922503655/



https://www.google.com/search?source=hp&ei=QIvkXPOVF4OU0PEPhMK8qAc&q=ion+maiden+mouse+pad&oq=ion+maiden+mouse+pad&gs_l=psy…                                             1/2
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            Case 2:19-cv-04606-DSF-JC Document        mouse 05/28/19
                                                2 Filed     pad - Google Search
                                                                          Page 14 of 18 Page ID #:34
                    Jan 22, 2019 - Hey guys, Loving the playground of the new map in today's update, but I noticed that
                    mouselook behavior seems way off than when I last ...
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5/21/2019                                   ion 2
            Case 2:19-cv-04606-DSF-JC Document  maiden poster
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                     Iron maiden poster | Etsy
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                     Amazon.com: LPGI Iron Maiden Trooper Large Fabric Poster / Flag 40 ...
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5/21/2019                                   ion 2
            Case 2:19-cv-04606-DSF-JC Document  maiden poster
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                                                           05/28/19        Page 16 of 18 Page ID #:36
                     Iron Maiden - Heavy Metal Merchant
                     https://www.heavymetalmerchant.com/products/iron-maiden
                     98 Products - Our range of o cial Iron Maiden rock clothing and merch includes band t-shirts, patches,
                     hoodies, poster ags, beanies, magnets, keychains, ...


                     Iron Maiden Posters | Redbubble
                     https://www.redbubble.com › Iron Maiden › Wall Art › Posters
                     Results 1 - 108 of 425 - Shop from 425 unique Iron Maiden Posters on Redbubble. Hang your posters
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5/21/2019                                   ion 2
            Case 2:19-cv-04606-DSF-JC Document  maiden t-shirts
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                     T Shirts · 2018 Football Shirt · Long Sleeves · For Him
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                     OFFICIAL Iron Maiden Shirts, Figures & Merch | Hot Topic                                                                     Used
                     https://www.hottopic.com/band-merch/shop-by-artist/iron-maiden/                                                              eBay
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                     Pop Culture-Inspired Clothes & Accessories.                                                                     More on Google


                     Iron Maiden Merchandise & Clothing | EMP Band Merch Shop
                     https://www.emp-online.com/band-merch/iron-maiden/
                     172 Items - Get your Iron Maiden fan clothing and accessories from our wide range of band
                     merchandise Get your hands on goodies inspired by the heavy ...




                     Rating      Hours


                     Hot Topic
                     4.5              (107) · $$ · Clothing store
                     South Bay Galleria
                     Redondo Beach, CA · (310) 371-8990
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                     Hot Topic
                     4.4              (536) · $$ · Clothing store
                     Hollywood & Highland
                     Hollywood, CA · (323) 462-2590
                     Open ⋅ Closes 10PM
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                     Hot Topic
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5/21/2019                                   ion 2
            Case 2:19-cv-04606-DSF-JC Document  maiden t-shirts
                                                    Filed       - Google Search
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                     Results 1 - 48 of 3656 - Get the best deal for Iron Maiden Men's T-Shirts from the largest online
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                     Iron Maiden Merch Store - O cially Licensed Merchandise - Rockabilia
                     https://www.rockabilia.com/browse/artists-groups/i/iron-maiden.html
                     Items 1 - 32 of 282 - O cially licensed merch from Iron Maiden available at Rockabilia.


                     Amazon.com: Iron Maiden Trooper T-Shirt: Clothing
                     https://www.amazon.com/Unknown-Iron-Maiden-Trooper-T-Shirt/dp/B00AL1VAZW
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                     Iron Maiden T-Shirt for Sale by Geek N Rock
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